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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division
NICOLE SWANN


            Plaintiff,
vs.                                                       Case No.:

      1ST
G 21S1 STREET, INC., a
Virginia corporation,


            Defendant.



                                              COMPLAINT


            Plaintiff, NICOLE SWANN ("Plaintiff'), through her undersigned counsel, hereby files

this Complaint and sues G 21ST STREET, INC., a Virginia corporation, for injunctive relief,

attorney's fees and costs pursuant to 42 U.S.C. §12181, et.seq.. ("AMERICANS WITH

DISABILITIES ACT" or "ADA") and allege:


                                   JURISDICTION AND PARTIES


            1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans With Disabilities Act, 42 U.S.C. §12181 et. seq. (hereinafter referred to as the

"ADA").


            2.      This Court is vested with original jurisdiction under 28 U.S.C. §§1331 and 1343.

Venue is proper in this Court pursuant to 28 U.S.C. §1391(B) and Local Rules of the United

States District Court for the Eastern District of Virginia, Western Division.

            3.      Plaintiff, NICOLE SWANN         (hereinafter referred to as "MS SWANN") is a

resident of the State of Virginia and is a qualified individual with a disability under the ADA.

MS SWANN suffers from what constitutes a "qualified disability" under the Americans With

Disabilities Act of 1990, ("ADA") and all other applicable Federal statutes and regulations. Prior
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to instituting the instant action, MS SWANN personally visited the Defendant's premises,


Guadalajara Restaurant & Cantina, located at 200 - 21st Street, Virginia Beach, VA,

(hereinafter referred to as the "RESTAURANT"), and was denied full, safe and equal access to


the Defendant's premises due to the barriers to access which exist and the Defendant's lack of

compliance with the ADA. MS SWANN intends to and continues to desire to visit the

Defendant's premises but continues to be denied full, safe and equal access due to the barriers to

access and violations which continue to exist.

       4.     The Defendant, G 21ST STREET, INC., a Virginia corporation, (hereinafter

referred to as "G 21ST STREET") is authorized to conduct and is conducting business in the

State of Virginia. Upon information and belief, G 21ST STREET is the owner and/or operator

of the RESTAURANT.


       5.      All events giving rise to this lawsuit occurred in the Eastern District of Virginia in

Virginia Beach.


       COUNT I - VIOLATION OF THE AMERICANS WITH DISABILITIES ACT



       6.      On or about July 26, 1990, Congress enacted the Americans With Disabilities Act

("ADA"), 42 U.S.C. §12101 et. seq.      Commercial enterprises were provided one-and-a-half years from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA was

January 26,1992.42 U.S.C. §12181; 20 C.F.R. §36.508(A).

       7.         Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the establishment owned

and/or operated by G 21 ST STREET is a place of public accommodation in that it is a RESTAURANT,

which provides goods and services to the public.


       8.   Defendant, G 21ST STREET has discriminated, and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full and equal enjoyment of
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goods, services, facilities, privileges, advantages and/or accommodations at the RESTAURANT in

derogation of 42 U.S.C. § 12101 et. seq.


           9.       The Plaintiff has been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at the RESTAURANT.             Prior to the filing of this lawsuit, the Plaintiff

visited the Defendant's premises and was denied access to the benefits, accommodations and services of

the Defendant's place of public accommodation and therefore suffered an injury in fact. In addition, the

Plaintiff continues to desire and intends to visit the RESTAURANT, but continues to be injured in that

she is unable to and continues to be discriminated against due to the architectural barriers which remain

at the RESTAURANT in violation of the ADA. MS SWANN has now and continues to have reasonable

grounds for believing that she has been and will be discriminated against because of the Defendant's

deliberate and knowing violations of the ADA.

           10.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department of

Justice, Office of the Attorney General, promulgated Federal Regulations to implement the requirements

of the ADA 28 C.F.R. Part 36.


           11.      G 21ST STREET is in violation of 42 U.S.C. § 12181 etsea and 28 C.F.R. § 36.302 et

seq., and are discriminating against the Plaintiff as a result of inter alia, the following specific barriers to

access:



    i.           There are an insufficient number of accessible seating positions/tables at the indoor
                 and outdoor dining areas;


                 Women's Restroom:


    ii.          There is insufficient maneuvering clearance at the entrance/exit door;
    iii.         There is no accessible signage at the restroom door;
    iv.          There is no accessible stall provided;
    v.           There is no rear grab bar provided;
    vi.          There are no side grab bars provided;
    vii.         The hardware on the entrance door and the lavatory require twisting and/or grasping
                 of the wrist to operate;
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    viii.         The mirror is too high;

            12.      There are other current violations of the ADA at the RESTAURANT owned and/or

operated by G 21ST STREET which are not specifically identified herein as the Plaintiff is not required

to engage in a futile gesture pursuant to 28 C.F.R. Part 36, § 36.501 and, as such, only once a full

inspection is performed by Plaintiff or Plaintiffs representatives can all said violations be identified.

        13.          To date, the readily achievable barriers and other violations of the ADA still exist and

have not been remedied or altered in such a way as to effectuate compliance with the provisions of the

ADA.


        14.           Pursuant to the ADA, 42 U.S.C. § 12101 et. seq.. and 28 C.F.R. § 36.304, G 21ST

STREET was required to make the subject property, a place of public accommodation, accessible to

persons with disabilities by January 28, 1992. To date, G 21ST STREET has failed to comply with this

mandate.


        15.          The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have her reasonable attorney's fees, costs and expenses

paid by G 21ST STREET pursuant to 42 U.S.C. § 12205.

        16.          Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant Plaintiffs

injunctive relief, including an order to alter the subject facility to make it readily accessible to, and

useable by, individuals with disabilities to the extent required by the ADA, and closing the subject

facility until the requisite modifications are completed.

       WHEREFORE, the Plaintiff demands judgment against G 21ST STREET and requests the

following injunctive and declaratory relief:

                    A.      That the Court declare that the property owned and
                            administered by G 21ST STREET is violative of the ADA;

                    B.      That the Court enter an Order directing G 21ST STREET to
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                 alter the subject facility to make it accessible to and usable by
                 individuals with disabilities to the full extent required by Title
                 III of the ADA;

           C.    That the Court enter an Order directing G 21ST STREET to
                 evaluate and neutralize its policies, practices and procedures
                 toward persons with disabilities, for such reasonable time so
                 as to allow them to undertake and complete corrective
                 procedures;


           D.    That the Court award reasonable attorney's fees, costs
                 (including expert fees) and other expenses of suit, to the
                 Plaintiff; and

           E.    That the Court award such other and further relief as it deems
                 necessary, just and proper.



     Dated £.*j?2*i/...           Respectfully submitted,


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